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                                                                                       FILED
                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                                                                     FEB     I 2019
                                    NORFOLK DIVISION
                                                                               clerk, U.S. DISTRICT COURT
                                                                                      NORFOLK. VA
DARIEN BRANNEN,

        Plaintiff,
                                                            CIVIL NO.2:18-cv-602
               V.



SELENE FINANCE LP,

        Defendant.


                                   OPINION AND ORDER


        This lawsuit arises out of a mortgage loan dispute between Darien Brannen ("Plaintiff),

the borrower, and Selene Finance LP ("Defendant" or "Selene"), his loan servicer, after Plaintiff

fell behind on his mortgage payments. Plaintiffs complaint alleges that Defendant violated two

federal laws in connection with Plaintiffs attempts to obtain loan modification relief from the

Defendant. Defendant now moves to dismiss Plaintiffs complaint pursuant to Rule 12(b)(6) of

the Federal Rules of Civil Procedure for failure to state a claim. ECF No. 6. For the reasons set

forth herein. Defendant's Motion to Dismiss Plaintiffs Complaint is GRANTED,and Plaintiffs

complaint is DISMISSED consistent with the directives ofthis Opinion and Order.

   I.      FACTUAL BACKGROUND

        The facts recited herein are drawn from the Plaintiffs complaint and are assumed true only

for purposes of deciding the motion to dismiss currently before the Court. They are not to be

considered factual findings by this Court.    Erickson v. Pardus. 551 U.S. 89,94(2007).

        On May 15, 2006, Plaintiff entered into a mortgage loan contract to purchase property in

Suffolk, Virginia. Complaint, ECF No. 1-1 ("Compl."),^ 4. Plaintiffs loan was for $467,800.00,

and it was evidenced by a promissory note ("Note")and secured by a deed of trust("DOT"). Id;

see Note, "Ex. 1" to Compl., ECF No. 1-1, at 10-16;^ DOT, id at 17-43. The terms of

                                                1
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Plaintiffs Note reflect an adjustable rate mortgage, calling for an initial interest rate of 5.25% and

initial monthly payments of $2,046.63 through September 2006, with variable interest rates and

monthly payments thereafter. Note,"Ex. 1" to Compl., ECF No. 1-1, at 10-16.

       Plaintiff alleges that, sometime after securing this loan,"[he] fell behind on his payments."

Compl. II 6. He ftirther alleges that, on or about August 22, 2014, he entered into a loan

modification agreement with Selene, which increased Plaintiffs loan principal to $512,790.17 but

reduced his interest rate to 4% and reduced his owed monthly payments to $1,532.58 per month.

Id. II 7; si^ Loan Modification Agreement,"Ex. B" to Compl., ECF No. 1-1, at 44-55.

                  PlaintifPs Attempts to Obtain Additional Loss Mitigation


       According to the complaint, sometime after Plaintiff obtained this loan modification in

2014, he and his wife again began experiencing financial difficulty due to a decrease in his wife's

income. Comply 10. Presumably because ofthis financial difficulty. Plaintiffallegedly contacted

the defendant, Selene, on five occasions over a period of approximately two years to request loan

modification and/or loss mitigation relief as follows:

       First, on some unalleged date. Plaintiff allegedly "contacted Selene to discuss loss

mitigation options." Id ^ 11. According to Plaintiff, Selene offered a repayment agreement that

he allegedly could not afford, but the terms ofsuch proposal are not alleged. Id.

       Second, sometime in 2016, Plaintiff allegedly submitted "a loss mitigation application" to

Selene, which Selene reportedly denied for being incomplete. Id H 12. Plaintiff does not allege

whether he appealed this denial or tried to supplement the application.

       Third, sometime in 2017, Plaintiff allegedly submitted another loss mitigation application

to Selene, which Selene reportedly denied "due to insufficient income." Id ^ 13. Plaintiff does

not allege whether he appealed this denial.
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         Fourth, in January 2018, Plaintiff allegedly "contacted" Selene, which reportedly offered

Plaintiff another repayment agreement that he allegedly could not afford. Id. ^ 14. The terms of

this proposed agreement are not alleged.

         Fifth, in May of 2018, Plaintiff was once again allegedly "denied for a loan modification"

presumably by Selene. Id       15. Plaintiff claims that this denial was based on a calculation of his

household expenses that included the expenses of his wife, who contributes to household income

but is not a borrower on the loan. Id.


                            Selene's Denial of PlaintifPs 2018 Appeal


         After this last denial. Plaintiff allegedly retained the legal services of Heath J. Thompson

P.C. to assist him with his "ongoing mortgage issues." Id H 16. According to the complaint,"[a]

representative from Selene,Tammy,was given as the single point ofcontact for [Plaintiffs] loan."

Id H 17. On June 20, 2018, a representative fi'om Heath J. Thompson P.C. allegedly "faxed an

appeal for the loan modification denial" to Selene. Id ^ 18. On July 3, 2018, Selene informed

such representative that Plaintiffs appeal was denied. Id H 19. Plaintiff claims that, during that

conversation, a representative for Selene - whose name is not alleged - stated that "she had

reviewed the case many times before and did not feel the need to review it again." Id ^ 20.

   II.      PROCEDURAL HISTORY

         On October 4,2018, Plaintiff filed a two-count complaint against Defendant Selene in the

Circuit Court for the City of Suffolk seeking $70,000 in damages. ECF No. 1 H 1. Count I ofthe

complaint alleges that Defendant violated Section 1024.41(h) of Regulation X of the Real Estate

Settlement Procedures Act("RESPA") in connection with the review and subsequent appeal of

Plaintiffs "loss mitigation application." Compl.          26-29. The loss mitigation application

referenced here is presumably the application denied in May of 2018, since this is the only

application alleged in the complaint to have an associated appeal. S^ id ^ 18. Count II of the
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complaint alleges that Defendant violated Section 1639c of the Truth in Lending Act("TILA"),

15 U.S.C. §§ 1601, et seq.. when reviewing Plaintiffs loss mitigation requests. Id         30-40.

       On November 14, 2018, Defendant removed Plaintiffs action to this Court pursuant to 28

U.S.C. §§ 1441, 1446. ECF No. 1 H 4. On December 5,2018, Defendant filed the instant Motion

to Dismiss Plaintiffs Complaint("Motion to Dismiss") pursuant to Rule 12(b)(6) of the Federal

Rules of Civil Procedure along with a supporting memorandum ("Mem."). ECF Nos. 6 and 7.

Defendant's motion was fully briefed by the parties. S^ Plaintiffs Memorandum in Opposition

("0pp."), ECF No. 11; Defendant's Reply, ECF No. 12. The Court declined to set the matter for

hearing because the facts and legal arguments are adequately presented in the parties' briefs and

oral argument would not aid in the Court's decisional process.       Fed. R. Civ. P.78. Defendant's

motion is now ripe for decision.

   III.    LEGAL STANDARD

       Defendant moves to dismiss Plaintiffs complaint pursuant to Rule 12(b)(6) of the Federal

Rules of Civil Procedure for failure to state a claim upon which relief can be granted. A Rule

12(b)(6) motion should be granted if it appears that the plaintiff is not "entitled to relief under any

legal theory which might plausibly be suggested by the facts alleged." Harrison v. United States

Postal Serv.. 840 F.2d 1149, 1152 (4th Cir. 1988)(citation omitted). To survive a motion to

dismiss, the complaint need not contain detailed factual allegations, but the "[f]actual allegations

must be enough to raise a right to relief above the speculative level." Bell Atl. Corp. v. Twomblv.

550 U.S. 544,555 (2007). The claim must be "plausible on its face." Id. at 570.

       In resolving a Rule 12(b)(6) motion, the court must assume the truth of all facts alleged in

the complaint and construe the factual allegations in favor of the non-moving party. Robinson v.

Am. Honda Motor Co.. 551 F.3d 218, 222 (4th Cir. 2009). But the court is not bound by the

complaint's legal conclusions. Ashcroft v. Iqbal 556 U.S. 662,678(2009). "Threadbare recitals
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ofthe elements ofa cause ofaction, supported by mere conclusory statements, do not suffice." Id.

Furthermore, the court may not consider any matters outside the pleadings, but it may consider

written instruments that are attached as exhibits to a pleading. Occupy Columbia v. Halev. 738

F.3d 107,116(4th Cir. 2013), as these exhibits are "part ofthe pleading for all purposes," Fed. R.

Civ. P. 10(c).

    IV.     DISCUSSION

        Defendant moves to dismiss both counts ofPlaintiffs complaint on the grounds that neither

the RESPA claim alleged in Count I nor the TILA claim alleged in Count II apply to Plaintiffs

loan modification efforts as alleged in the complaint. Defendant further argues that, even if the

TILA provision alleged in Count II did apply, such claim is time-barred because it was not filed

within three years of Plaintiffs 2014 loan modification agreement. Id at 9 n.3 (citing 15 U.S.C.

§ 1640(e)). As a threshold matter. Plaintiff concedes in his opposition brief that his TILA claim

in Count II is barred by a three-year statute of limitations and thus moves to strike Count II from

his complaint. 0pp., ECF No. 11, at 7. Therefore, the only remaining issue before the Court is

whether Plaintiffs RESPA claim in Count I states a plausible claim for relief that should survive

Defendant's Rule 12(b)(6) motion.

        As noted above. Count I alleges that Defendant violated Section 1024.41(h)(3)ofRESPA's

loss mitigation rules when processing the appeal of Plaintiffs loan modification denial in 2018.

Compl.     26-29. Section 1024.41(h)(3) provides that "[a]n appeal shall be reviewed by different

personnel than those responsible for evaluating the borrower's complete loss mitigation

application." 12 C.F.R. § 1024.41(h)(3).' Defendant moves to dismiss Count I on two separate

grounds, which are discussed in turn below.



'For these purposes,a complete loss mitigation application means"an application in connection with which
a servicer has received all the information that the servicer requires from a borrower in evaluating
applications for the loss mitigation options available to the borrower." Id § 1024.41(b).
                                                   5
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          First, Defendant argues that Count I fails to state a claim for a violation of RESPA's loss

mitigation rules as a matter of law because such rules do not apply to subsequent loss mitigation

requests after a borrower has already fully availed himself of the RESPA loss mitigation process,

as the Plaintiff did here. In support. Defendant cites to a prior decision of this Court, Phillips v.

Wells Fargo Bank. N.A.. which dismissed a borrower's RESPA claim because the lender had


already processed a complete loss mitigation application in 2013 and thus was under no obligation

to comply with RESPA's loss mitigation rules with respect to a subsequent application in 2017.

No.3:17cv519,2018 WL 659199, at *3(E.D. Va. Feb. 1,2018)(Gibney,J.). Relying on 12 C.F.R.

§ 1024.4l(i), the Court reasoned that "[a] servicer must comply with [RESPA's] loss mitigation

provisions only for a single, complete loss mitigation application on a given loan."^ Id at *2.
However, the Philips Court cautioned that Section 1024.4l(i) was recently amended, effective

October 19, 2017, to require servicers to comply with RESPA's loss mitigation rules for

subsequent loss mitigation applications if the borrower became current on the loan at some point

after submitting his first complete loss mitigation application.^ Id at *2 n.3.

          In the instant case, the facts alleged in the complaint indicate that Plaintiff already availed

himself of RESPA's loss mitigation rules in 2014 when he entered into the loan modification

agreement with Defendant. Compl. ^ 7. Therefore, unless Plaintiff can show that he became

current on his loan sometime after October 19, 2017, when the amendment to Section 1024.4l(i)

became effective, his claim that Defendant violated Section 1024.41 of RESPA with respect to a



^ PlaintifPs claim that a completed loan modification application must be appealed by the borrower before
this duplicative-review rule of 12 C.F.R.§ 1024.4l(i) applies, see ECF No. 11 at 5,is without legal support
and is defied by a plain reading of that provision.
^ 12 C.F.R. § 1024.41(i), as amended, states:"A servicer must comply with the requirements ofthis section
for a borrower's loss mitigation application, unless the servicer has previously complied with the
requirements of this section for a complete loss mitigation application submitted by the borrower and the
borrower has been delinquent at alltimessince submitting the prior complete application." Id (emphasis
added).
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subsequent loss mitigation application fails as a matter oflaw. In his complaint, Plaintiff does not

allege any facts about whether he was ever current on his loan, leaving his right to relief under

RESPA a matter of pure speculation. For this reason. Count I does not set forth sufficient factual

allegations to survive a Rule 12(b)(6) motion and must be dismissed."^

        Defendant's second argument for dismissal is that Count I fails to allege that the same

person who reviewed and denied his loan modification application in May of 2018 was the same

person who reviewed and denied his appeal ofsuch application, which is necessary to state a claim

that Defendant violated Section 1024.41(h)(3). The Court agrees. The only facts asserted in

support of Count I are as follows: "Based on Selene representative Tammy's statements and

attitude about [Plaintiffs] file, it appears she flagged [Plaintiffs] loss mitigation application for

denial and upon appeal also did not properly review the denial." Id ^ 28. But the complaint does

not state who denied Plaintiffs application in 2018. It merely states "Plaintiff was denied for a

loan modification..." Id       15. Nor does the complaint state who reviewed and denied Plaintiffs

related appeal. It merely states that Plaintiffs law firm "was informed that the appeal was denied."

Id U 19. Moreover, the alleged fact that "Tammy was given as the single point of contact" at

Selene, id ^ 17, does not give rise to a reasonable inference that Tammy performed any direct

reviews of Plaintiffs application or appeal. The only paragraph in the complaint that even hints

at Tammy's involvement is paragraph 20, which states that "Selene's representative," presumably

Tammy,"expressed that she had reviewed [Plaintiffs] case many times before and did not feel the




'* Regardless of this pleading deficiency, Plaintiff argues that Defendant should be estopped from "claiming
the benefit" of the duplicative-review exclusion contained in Section 1024.4l(i) because Defendant
engaged in active review ofPlaintiffs subsequent application. ECF No. 11 at 5("By choosing to continue
their review, Selene was required to, in fact, continue their review.") Id at 6. This argument is without
 merit. "Elements necessary to establish equitable estoppel, absent a showing of fraud and deception, are a
representation,reliance,a change ofposition,and detriment." Dominick v. Vassar.235 Va.295,298(1988)
(citation omitted). Here, Plaintiffcannot show change of position or detriment because his statutory rights
under RESPA are defined by statute and thus cannot be changed by the words or actions ofthe Defendant.
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need to review it again." Id. H 20. However, using this statement or any alleged "attitude" to

conclude that Tammy, or any other person, processed both Plaintiffs 2018 application and his

subsequent appeal is pure speculation. To survive a motion to dismiss,"[f]actual allegations must

be enough to raise a right to relief above the speculative level." Twomblv.550 U.S. at 555. For

this reason, too. Count I must be dismissed.

   V.        CONCLUSION

        For the reasons above. Defendant's Motion to Dismiss Plaintiffs Complaint, ECF No. 6,

is GRANTED as follows:


        1.     Count I of Plaintiffs complaint is hereby DISMISSED WITHOUT

PREJUDICE. If Plaintiff desires to amend such claim. Plaintiff is ORDERED to file within

FOURTEEN (14) DAYS of the date hereof a First Amended Complaint curing the deficiencies

identified in this Opinion and Order with well-pled, truthful allegations.

        2.     Based on Plaintiffs admission that Count II of his complaint is barred by the

applicable statute of limitations. Count II is hereby DISMISSED with PREJUDICE.

        The Clerk is DIRECTED to forward a copy ofthis Opinion and Order to all Counsel of

Record.


        IT IS SO ORDERED.                               _



                                                                             S DISTRICT JUDGE
Norfolk, VA
February      2019
